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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA, §
§
Plainti]j‘, §
VS. § CIVIL ACTION NO. 4212-cv-02676
§
AMERICUS MORTGAGE §
CORPORATION, et al. , §
§
Defendants.
ORDER

Pending before the Court is Allquest Home Mortgage Corporation’s Motion to
Dismiss [Dkt. 56].l The United States of America has sued two residential mortgage
lending companies and executive officers of those companies, alleging civil fraud in
violation of the False Claims Act (“FCA”) 31 U.S.C. § 3729 and the Financial
lnstitutions Reform, Recovery, and Enforcement Act of 1989 (“FIRREA”), 12 U.S.C. §
1833a. The Govemment alleges that Defendants Americus Mortgage Corporation
(“Allied Capital”), Allquest Home Mortgage Corporation (“Allied Corp”),2 Jim C.
Hodge, and Jeanne L. Stell made numerous false statements in loan applications and
other documents to procure home mortgage insurance on loans from the United States

Department of Housing and Urban Development (“HUD”). The Government asserts that

 

‘ Each of the Defendants has filed a motion to dismiss the Government’s Complaint The Court
has analyzed these in separate opinions, but adopts each of the opinions into the other because
many of the facts and arguments overlap.

2 Defendant Americus Mortgage Corporation was formerly known and is identified in the
Second Amended Complaint by its former name, Allied Home Mortgage Capital Corporation.
Defendant Allquest Home Mortgage Corporation is identified in the Second Amended
Complaint by its former name, Allied Home Mortgage Corporation.

 

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this alleged fraud resulted in HUD paying over $150 million in insurance proceeds to
Defendants for loans that defaulted
The case has been transferred to this Court by consent of the parties pursuant to
28 U.S.C. § 636(c). After considering the pleadings, the arguments of the parties, and
applicable legal authorities, the Court finds that the Motion to Dismiss is GRANTED.
The Government is GRANTED 14 days to amend its Complaint.
I. BACKGROUND

Allied Capital was an approved FHA loan correspondent from September 26, 1991
to December 31, 2010. It had the authority to originate HUD-insured mortgage loans for
sale or transfer to other qualifying mortgages On January 23, 2012, Allied Capital
changed its name with the Secretary of State of Texas to “Americus Mortgage
Corporation.” Allied Corp is the successor to Allied Capital.3 The tie between the two
entities is the Asset Purchase Agreement of May 1, 2010 between Allied Capital and
Allied Corp. The Government contends that the two entities share the same ownership
structure, the same headquarters, nearly all the same senior managers, the same quality
control employees, and perpetrated the same harm to the public through their fraudulent
schemes.

In 2010 and 2011, Allied Capital sold its assets to Allied Corporation and

terminated nearly all of its branches, then reopening them as branches of Allied Corp.

 

3 Defendant J im Hodge is the President and Chief Executive Officer of both Allied Capital and
Allied Corp. Defendant Jeanne Stell is the Executive Vice President and Director of Compliance
for both companies, and she has served as the Director of Compliance for both since 2001.

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On January 10, 2012, Allied Corp changed its name with the Secretary of State of Texas
to “Allquest Home Mortgage Corporation.”4

The Government alleges that Allied Capital and Allied Corp (as the successor)
willfully violated HUD requirements protecting HUD’s insurance fund and knowingly
deceived HUD.5 The Government contends that Allied Capital made fraudulent
representations to HUD/FHA in four separate types of document: (1) loan application
packages to secure approval for FHA insurance; (2) Branch Certiflcations to obtain
approval to originate FHA loans from a new branch office; (3) Annual Certifications for
continued participation in the FHA program; and (4) quality control reports.

In Claims I and ll of the Second Amended Complaint, the Government asserts
causes of action against Defendants Allied Capital, Allied Corp and Hodge under former
Section 3729(a)(2) and Section 3729(a)(l)(B) (as amended) of the FCA. The FCA is the
Govemment’s “primary litigation tool” for recovering losses resulting from fraud.
United States ex rel. Marcy v. Rowan Cos., 520 F.3d 384, 388 (Sth Cir. 2008).

In Claims III-VI, the Government asserts causes of action under Section 1006 and
Section 1014 of FIRREA.6 Section 1006 makes it a crime for any person who is
“connected in any capacity with [HUD]” to “mak[e] any false entry in any book, report or

statement of or to [HUD]” with the “intent to . . . deceive any officer, auditor, examiner

 

: To avoid confusion, Allied Corp will be used throughout the opinion.

Ia'. at 11 6.
6 Section 951(a) of FIRREA provides that “[w]hoever violates any provision of law to which this
section is made applicable by subsection (c) of this section shall be subject to a civil penalty in
an amount assessed by the court in a civil action under this section.” 12 U.S.C. § 1833a(a).
Section 951(c) of FIRREA identifies the criminal violations to which FIRREA civil penalties
apply, including Sections 1006 and 1014. Id. §1833a(c).

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or agent . . of [a] department or agency of the United States. . .” 18 U.S.C. § 1006.
Section 1014 prohibits the submission of false records or making of false statements to
the FHA. 18 U.S.C. § 1014. Specifically, it makes it a crime for any person to
“knowingly mak[e] any false statement or report, or willfully overvalues any land,
property or security, for the purpose of influencing in any way the action of the [FHA].”
Ia’.
II. Dismissal Under Rule 12(b)(6) and Rule 9(b)
A. T he Rule 12(b)(6) Standard
The Govemment’s live Complaint is the Second Amended Complaint. [Dkt. 48].
Defendant Allquest has moved to dismiss the Complaint for failure to state a claim under
Federal Rule of Civil Procedure 12(b)(6). Rule 12(b)(6) allows dismissal if a plaintiff
fails “to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). A
motion to dismiss under Rule 12(b)(6) is “viewed with disfavor and is rarely granted.”
United States ex rel. Tucker v. Chrl`slus Health, No. 09-11819, 2012 U.S. Dist. LEXIS
151906, 8-9 (S.D. Tex. Oct. 23, 2012) (Atlas, J.) (quz' iam case citing Harrington v. State
Farm Fire & Cas. Co., 563 F.3d 141, 147 (5th Cir. 2009).

The Supreme Court has confirmed that Rule 12(b)(6) must be read in conjunction
with Rule 8(a), which requires “a short and plain statement of the claim showing that the
pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2); Bell Atlamz'c Corp. v. Twombly, 550
U.S. 544, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 129
S. Ct. 1937, 173 L. Ed. 2d 868 (2009). To withstand a Rule 12(b)(6) motion, a complaint

must contain “enough facts to state a claim to relief that is plausible on its face”-legal

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conclusions alone are insufficient Twombly, 550 U.S. at 570. The “pleading standard
Rule 8 announces does not require ‘detailed factual allegations,’ but it demands more
than an unadorned, the-defendant-unlawfully-harmed-me accusation.” United States ex
rel. Kz`ng v. Univ. of Texas Health Science Center-Houston, 907 F. Supp. 2d 846, 849
(S.D. Tex. 2012) (Rosenthal, J.) (qui lam case quoting Iqbal, 556 U.S. at 678). The
complaint must be liberally construed in favor of the plaintiff, and when there are well-
pleaded factual allegations, courts should presume they are true, even if doubtful_only
then may the court determine whether they “plausibly give rise to entitlement to relief.”
United States ex rel. Tucker, 2012 U.S. Dist. LEXIS 151906 at 8-9.
B. The Rule 9(b) Stamlard

Complaints filed under the False Claims Act must also meet the heightened
pleading standard of Federal Rule of Civil Procedure Rule 9(b), which provides: “ln
alleging fraud or mistake, a party must state with particularity the circumstances
constituting fraud or mistake.” United States ex rel. Grubbs v. Kanneganti, 565 F.3d 180,
185 (5th Cir. Tex. 2009) (citing Fed. R. Civ. P. 9(b)). Rule 9(b) requires “that a plaintiff
set forth the ‘who, what, when, where, and how’ of the alleged fraud.” United States ex
rel. Steury v. Cardinal Health, lnc., 625 F.3d 262, 266 (5th Cir. 2010). “Because the
linchpin of an FCA claim is a false claim, the time, place and contents of the false
representations, as well as the identity of the person making the misrepresentation and
what that person obtained thereby must be stated in a complaint alleging violation of the

FCA in order to satisfy Rule 9(b).” United States ex rel. Rafz`zadeh v. Continental

 

 

 

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Common, Inc., 553 F.3d 869, 873 (5th Cir. 2008) (internal quotations and citation
omitted).

For FCA claims, Rule 9(b) must be applied in a “context-specific and flexible”
manner. United States ex rel. Grubbs, 565 F.3d at 190. “It is adequate to allege that a
false claim was knowingly presented regardless of its exact amount; the contents of the
bill are less significant because a complaint need not allege that the Government relied on
or was damaged by the false claim.” Id. at 189. The complaint may “survive by alleging
particular details of a scheme to submit false claims paired with reliable indicia that lead
to a strong inference that claims were actually submitted.” Ia’. at 190.

III. Defendant Allquest Home Mortgage Corporation’s Motion to Dismiss

The Government contends that Defendant Allied Corp is liable as the “successor
entity to, and a mere continuation of Allied Capital.”7 Allied Corp argues that the
Government is collaterally estopped from trying to hold it liable for the acts and
omissions of Allied Capital.8 ln the altemative, Allied Corp argues that Texas law
regarding successor liability should apply, and it should bear no liability in this case.

A. Collateral Estoppel Does Not Apply

Allied Corp contends the Government is collaterally estopped from arguing it is
liable under the theory of successor liability. In Allied Home Mortg. Crop. v. Donovan,
United States District Judge Melinda Harmon granted a preliminary injunction against

HUD, preventing it from suspending Allied Corp’s approval to originate and underwrite

 

7 Dkr. 69.
8 Dkr. 56.

 

 

 

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FHA-insured mortgage loans. 830 F. Supp. 2d. 223, 232-33 (S.D. Tex. 2011). Judge
Harmon found that HUD “erred in acting contrary to the law in Texas as that law applies
to [Allied] Corp’S acquisition of some of the assets of [Allied] Capital and on the theory
that [Allied] Corp is a mere continuation of [Allied] Capital.” Ia’. at 232. Allied Corp
claims that Judge Harmon’s ruling now bars the government from relitigating the issue of
whether successor liability applies here. The Government argues that collateral estoppel
does not apply in this context, and the Court agrees with the Govemment’s position.

A court has discretion in choosing whether to apply collateral estoppel and should
do so only if fair. Du/jj/ & McGovern Accommoa’ation Servs. v. QCI Marl'ne O]jfshore,
Inc., 448 F.3d 825, 831 (5th Cir. 2006). To determine whether collateral estoppel
applies, courts consider whether “(l) the issue under consideration is identical to that
litigated in the prior action; (2) the issue was fully and vigorously litigated in the prior
action; (3) the issue was necessary to support the judgment in the prior case; and (4) there
is [any] special circumstance that would make it unfair to apply the doctrine.” Wl`nters v.
Diamona’ Shamrock Chem. Co., 149 F.3d 387, 391 (5th Cir. 1998) . The Fifth Circuit has
also set out additional “safeguards that must be present before estoppel may be
employed.” Baros v. Tex. Mex. Ry., 400 F.3d 228, 233 (5th Cir. 2005). Relevant to this
inquiry is the “requirement that the facts and the legal standard used to assess them are

the same in both proceedings.” Id. (internal quotations omitted).9

 

9 Other safeguards include whether "a new determination of the issue is warranted by differences
in the quality of extensiveness of the procedures followed in the two courts,” and the availability
of judicial review of the first proceeding as being "of paramount importance to the issue of
preclusion." Ia'.

 

 

 

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Here, Judge Harmon’s decision was made in the context of a preliminary
injunction_~z`.e., the inquiry was whether there was a substantial likelihood of success on
the merits, and a substantial threat of irreparable injury. Allied Home Mortg. Corp. v.
Donovan, 830 F. Supp. 2d. at 223. Thus, Judge Harmon’s ruling was not assessed under
the same legal standard as would be applicable otherwise. Baros v. Tex. Mex. Ry., 400
F.3d 228, 232 (5th Cir. 2005) (landowners contend that because the “precise issue” was
decided in the temporary injunction proceeding, that finding is entitled to preclusive
effect; the court held “plea for collateral estoppel is unavailing.”) Similarly, an issue
decided in a preliminary hearing cannot be said to have been “fully and vigorously
litigated in the prior action.” Id. As such, and contrary to Allied Corp’s argument, issues
litigated in a preliminary injunction action do not form a basis for collateral estoppel. See
e.g., id,' Neill Corp. v. John Paul Mitchell Sys., 1995 U.S. Dist. LEXIS 9199, 25-26 (D.
La. 1995).

B. Texas law does not recognize successor liability

Allied Corp argues in the alternative that Texas law applies in this case, and under
Texas law, it is not liable as a continuation of Allied Capital. The Government argues
that federal common law_which does recognize successor liability_controls whether
Allied Corp is the legal successor to Allied Capital.

The Court finds that Texas law controls in this case because Allied Capital and
Allied Corp are both Texas corporations. See Allied Home Mortg. Corp. v. Donovan, 830

F. Supp. 2d. at 223. Under Texas law, the “buying and selling corporations’ purchase

 

 

 

 

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agreement’s choice of law provision controls the applicability of successor liability
doctrines.” Escalon v. World Grp. Secs. Inc., No. 5 :07-CV-214, 2008 U.S. Dist. LEXIS
107196, at *32 (N.D. Tex. Nov. 14, 2008). Here, the Asset Purchase Agreement
designates Texas in its choice of law clause:

Governing Law: This Agreement shall be construed in accordance with

applicable Federal Law and the laws of the State of Texas without reference

to laws regarding choice of law or forum. The exclusive venue of any

action arising from this Agreement shall be Harris County, Texas and each

party waives any objection to venue laid therein.w
Accordingly, the Court will apply Texas law.

Texas law does not generally recognize successor liability for subsequent
purchases of corporate assets. Norfolk Southern Ry. Co. v. Trz'm'ly Ina’ustries, Inc., No. 3-
07-CV-1905-O, 2008 U.S. Dist. LEXIS 110274, *4 (N.D. Tex. 2009) (applying Texas
law). In fact, Texas “strongly embraces a non-liability rule for corporate successors.”
Lockheea' Martin Corp. v. Gordon, 16 S.W.3d 127, 139 (Tex. App._Houston [lst Dist.]
2000, pet. denied). Texas law authorizes a successor to acquire the assets of a
corporation without incurring any of the grantor corporation's liabilities unless the
successor expressly assumes those liabilities C.M. Asfahl Agency v. Tensor, Inc., 135
S.W.3d 768, 780-81 (Tex. App._Houston [lst Dist.] 2004, no pet.); see also McKee v.
Am. Transfer and Storage, 946 F. Supp. 485, 487 (N.D. Tex. 1996) (“The Texas Business
& Corporations Act eliminates the doctrine of implied successor liability.”). Thus, in

Texas, there is no successor in interest when an acquiring corporation does not expressly

agree to assume the liabilities of the other party to an agreement because “successor” has

 

10 Allied Home Mortg. Corp. v. Donovan, 830 F. Supp. 2d. at 223.
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a specialized meaning “beyond simple acquisition.” Sitaram v. Aetno U.S. Healthcare of
N. Tex., lnc., 152 S.W.3d 817, 828 (Tex. App._Texarkana 2004, no pet.). The only two
circumstances in which a successor business that acquires the assets of another business
also acquires its liabilities or debts are (1) the successor expressly agrees to assume
liability or (2) the acquisition results from a fraudulent conveyance to escape liability for
the debts or liabilities of the predecessor. Lockheea' Marlin Corp. 16 S.W.3d at 134-35 &
n.6.

ln this case, Allied Corp did not agree to assume the liability of Allied Capital.
Paragraph 2.02 of the Agreement, titled Excluded Assets, expressly lists “any and all
liabilities” as a recognized exclusion. Further, paragraph 2.03, titled No Liabilities
Acquired, provides in pertinent part:

Unless expressly identified in Schedule 2.01 as a Purchased Asset, Buyer

shall assume no Liability whatsoever of the Seller, whether or not arising

from or related to the Seller, the Business or any Purchased Assets (the

“Excluded Liabilities”), and the Seller shall pay, perform and discharge as

and when due each such Excluded Liability. Without limiting the

generality of the foregoing, the Excluded Liabilities shall include, and

under no circumstances shall Buyer be deemed to assume, any Liability of

the Seller arising out of or relating to . . .

(c) any actual or alleged tortious conduct of Seller or any of its officers,
employees or agents; . . .

(i) any Liability relating to the ownership, operation, use or disposal of any
Excluded Assets; . . .

(n) any Liability arising out of any business activity or operations of the
Seller after the Effective Time;

(o) any Liability under or arising by reason of this Agreement, or incurred
in connection with the transactions contemplated by this agreement

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(p) any claims, chose in action, causes of action, rights of recovery, rights

of set-off, or grievances of any kind of any third party. . . arising out of the

conduct of the Seller, the Business, any other business or operations of the

Seller, or the ownership of any Purchased Assets prior to the Effective

Time.ll
This language makes it clear that no transfer of liability was intended between Allied
Capital and Allied Corp.

The allegations in the Second Amended Complaint also do not support the
application of successor liability under Texas law. While the Government vaguely
implies that there was a fraudulent conveyance, and there are a number of factual
allegations implying the gravamen of the Complaint is fraudulent conveyance, the
Complaint never asserts that this was the primary purpose behind Allied Corp’s
acquisition of Allied Capital.12 The Complaint is not sufficiently pled to permit the
Government to stand on this exception. Accordingly, under Texas law, Allied Corp is
not liable as a continuation of Allied Capital.

C. T he Complaint does not include specific allegations against Allquest

ln its Response, the Government argues that that the Complaint raises FIRREA

counts against “Allied Corp for its own false statements to the FHA starting in late 2010

1 7913

and early 201 However, upon review of the Complaint, the Court finds these

allegations insufficiently pled. The Government does not clearly indicate whether the

 

ll Allied Home Mortg. Corp. v. Donovan, 830 F. Supp. 2d. at 223

12 The argument may be “inserted subtly into the design,” but it must still be identifiable See,
e. g. , http://en.wikipedia.org/wiki/Hidden_Mickey.

13 Dkt. #69 at 68. The Government refers the Court to paragraphs 7, 55, and 76-78 in the Second
Amended Complaint. .

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allegations are directed against Allied Corp independently or against Allied Corp as the
successor to Allied Capital.
D. Opportunity to Amend Complaint

ln its Response, the Government has requested an opportunity to amend its
Complaint in the event that its claims are found deficient In the interest of justice, the
Government will be granted 14 days to amend its Complaint.

CONCLUSION

Based on the foregoing, the Court concludes that the Government has adequately
pled claims under both the FCA and FIRREA. Accordingly, it is ORDERED that
Allquest’s Motion to Dismiss be GRANTED. The Government is GRANTED 14 days

to amend its Complaint.

sIGNED etHeuSten, Texasen september q ,2013.

§ieorge C. Hanks,§ilr.

United States Magistrate Judge

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